Case 3:24-cv-06724-RK-TJB           Document 21        Filed 06/18/25          Page 1 of 1 PageID: 63


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 File No.: 453329-00058
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                                          June 18, 2025

Via ECF
Honorable Tonianne J. Bongiovanni, U.S.M.J.
US District Court of New Jersey
Clarkson S. Fisher Building
402 East State Street, Courtroom 6 East
Trenton, NJ 08608

                 Re:      Toskova v Princeton University
                          Civil Action No.: 3:24-cv-06724-RK-TJB

Dear Judge Bongiovanni:

        This firm represents Defendant, The Trustees at Princeton University d/b/a Princeton
University (improperly pled as The Trustees at Princeton University a/k/a Princeton University,
Princeton University Department of Public Safety, Princeton University Athletics Department,
Princeton University Campus Recreation Department) (“Princeton University” or “Defendant”),
in the above-captioned matter. Princeton University submits this status update in accordance with
the Court’s Text Minute Entry entered on June 2, 2025.

        This matter involves a claim by plaintiff alleging personal injury allegedly suffered while
participating in an intercollegiate tennis match on the campus of Princeton University. Plaintiff’s
deposition is scheduled for July 24, 2025 at 2:00pm. If the deposition does not proceed as
scheduled, we respectfully request the Court set a date for Plaintiff’s deposition. In accordance
with the Court’s Text Minute Entry entered on June 2, 2025, the parties will submit a proposed
discovery schedule by July 17, 2025.

                                                      Respectfully yours,

                                                      /s/ Yvette L. Donaldson
                                                      Yvette L. Donaldson, Esq.



cc: All Counsel of Record (via ECF)




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